                                Case 23-19973-RAM                       Doc 9        Filed 12/03/23              Page 1 of 5
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
In re:                                                                                                                 Case No. 23-19973-RAM
Harold Gonzalez                                                                                                        Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113C-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Dec 01, 2023                                               Form ID: 309I                                                             Total Noticed: 34
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 03, 2023:
Recip ID                   Recipient Name and Address
db                     +   Harold Gonzalez, 1199 W 35 St #208, Hialeah, FL 33012-4902
97174126               +   Baker Donelson, ATTN Terri N. Thomas, Esq., 200 S Orange Ave, Suite 2900, Orlando, FL 32801-3448
97174127               +   Baker Donelson, ATTN Terri N. Thomas, Esq., PO Box 1549, Orlando, FL 32802-1549
97174140               +   Lease agreement, 1199 W 35 ST, APT 208, Hialeah, FL 33012-4902
97174144               +   Roomstogo/crossriver/g, 1797 Ne Expressway, Atlanta, GA 30329-7803
97174145               +   Senna Lend, 4995 Nw 72nd Ave Suite 204, Miami, FL 33166-5643

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: eservice@blancopa.com
                                                                                        Dec 01 2023 23:29:00      Jose A Blanco, Jose A. Blanco, P.A., 102 E 49th
                                                                                                                  ST, Hialeah, FL 33013
tr                     + Email/Text: BNC@ch13miami.com
                                                                                        Dec 01 2023 23:51:00      Nancy K. Neidich, www.ch13miami.com, POB
                                                                                                                  279806, Miramar, FL 33027-9806
smg                        EDI: FLDEPREV.COM
                                                                                        Dec 02 2023 04:04:00      Florida Department of Revenue, POB 6668,
                                                                                                                  Bankruptcy Division, Tallhassee, FL 32314-6668
ust                    + Email/Text: USTPRegion21.MM.ECF@usdoj.gov
                                                                                        Dec 01 2023 23:53:00      Office of the US Trustee, 51 S.W. 1st Ave., Suite
                                                                                                                  1204, Miami, FL 33130-1614
97174123               + Email/Text: bankruptcy@acimacredit.com
                                                                                        Dec 01 2023 23:54:00      Acima Credit, 9815 South Monroe Street, 4th
                                                                                                                  Floor, Sandy, UT 84070-4384
97174124               + Email/PDF: bncnotices@becket-lee.com
                                                                                        Dec 02 2023 00:17:03      American First Finance, Attn: Bankruptcy, Po Box
                                                                                                                  565848, Dallas, TX 75356-5848
97174125               + Email/PDF: bncnotices@becket-lee.com
                                                                                        Dec 02 2023 00:16:58      Amex, Correspondence/Bankruptcy, Po Box
                                                                                                                  981540, El Paso, TX 79998-1540
97174131                   Email/Text: customercareus@creditcorpsolutionsinc.com
                                                                                        Dec 01 2023 23:29:00      CREDIT CORP SOLUTIONS. INC., 121 West
                                                                                                                  Election Road, Suite 200, Draper, UT 84020
97174128               + Email/Text: bankruptcy.notifications@fisglobal.com
                                                                                        Dec 01 2023 23:54:00      Checksystems, 7805 Hudson Rd, Saint Paul, MN
                                                                                                                  55125-1594
97174129               + EDI: FLDEPREV.COM
                                                                                        Dec 02 2023 04:04:00      Child Support Enforcement, PO Box 8030,
                                                                                                                  Tallahassee, FL 32314-8030
97174130               + EDI: WFNNB.COM
                                                                                        Dec 02 2023 04:04:00      Comenity Capital, Attn: Bankruptcy, Po Box
                                                                                                                  182125, Columbus, OH 43218-2125
97174133               + EDI: DISCOVER
                                                                                        Dec 02 2023 04:04:00      Discover Financial, Attn: Bankruptcy, Po Box
                                                                                                                  3025, New Albany, OH 43054-3025
97174134                   Email/Text: bankruptcycourts@equifax.com
                                                                                        Dec 01 2023 23:52:00      Equifax, Attn: Bankruptcy Dept., P.O. Box
                                                                                                                  740241, Atlanta, GA 30374
97174135               ^ MEBN
                                                                                        Dec 01 2023 23:22:28      Experian, Attn: Bankruptcy Dept., P.O. Box 2002,
                               Case 23-19973-RAM                    Doc 9        Filed 12/03/23            Page 2 of 5
District/off: 113C-1                                               User: admin                                                            Page 2 of 3
Date Rcvd: Dec 01, 2023                                            Form ID: 309I                                                        Total Noticed: 34
                                                                                                            Allen, TX 75013-2002
97174136                 EDI: FLDEPREV.COM
                                                                                   Dec 02 2023 04:04:00     Florida Department Of Revenue, 5050 W
                                                                                                            Tennessee St, Tallahassee, FL 32399-0110
97174138              ^ MEBN
                                                                                   Dec 01 2023 23:24:40     Honorable Merrick Garland, Attorney General,
                                                                                                            Dept of Justice #4400, 950 Pennsylvania Ave NW,
                                                                                                            Washington, DC 20530-0009
97174132                 EDI: IRS.COM
                                                                                   Dec 02 2023 04:04:00     Department of the Treasury, PO Box 21126,
                                                                                                            Philadelphia, PA 19114
97174141              + EDI: MERCEDES
                                                                                   Dec 02 2023 04:04:00     Mercedes - Benz Financial Services, Attn:
                                                                                                            Bankruptcy, P.O. Box 685, Roanoke, TX
                                                                                                            76262-0685
97174142                 EDI: PRA.COM
                                                                                   Dec 02 2023 04:04:00     Portfolio Recovery Associates, LLC, Attn:
                                                                                                            Bankruptcy, 120 Corporate Boulevard, Norfolk,
                                                                                                            VA 23502
97174143              + Email/Text: newbk@Regions.com
                                                                                   Dec 01 2023 23:54:00     Regions Bank, 2050 Parkway Office Cir,
                                                                                                            Birmingham, AL 35244-1805
97174146                 Email/Text: mhslegal@mhs.net
                                                                                   Dec 01 2023 23:52:00     South Broward Hospital District, 3111 Stirling
                                                                                                            Road, Fort Lauderdale, FL 33312
97174148              + EDI: SYNC
                                                                                   Dec 02 2023 04:04:00     Synchrony Bank, 170 West Election Road, Suite
                                                                                                            125, Draper, UT 84020-6425
97174147              + EDI: SYNC
                                                                                   Dec 02 2023 04:04:00     Synchrony Bank, Attn: Bankruptcy, Po Box
                                                                                                            965060, Orlando, FL 32896-5060
97174149              ^ MEBN
                                                                                   Dec 01 2023 23:21:44     Transunion, Attn: Bankruptcy Dept., P.O. Box
                                                                                                            2000, Chester, PA 19016-2000
97174137                 Email/Text: USAFLS.Bankruptcy@usdoj.gov
                                                                                   Dec 01 2023 23:50:00     Honorable Markenzy Lapointe, US Attorney for
                                                                                                            Southern District, 99 NE 4 St, Miami, FL 33132
97174150              + EDI: WFFC2
                                                                                   Dec 02 2023 04:04:00     Wells Fargo Bank NA, Attn: Bankruptcy, 1 Home
                                                                                                            Campus Mac X2303-01a 3rd Floor, Des Moines,
                                                                                                            IA 50328-0001
97174151              + EDI: WFFC2
                                                                                   Dec 02 2023 04:04:00     Wells Fargo Dealer Services, Attn: Bankruptcy,
                                                                                                            1100 Corporate Center Drive, Raleigh, NC
                                                                                                            27607-5066
97174152              + Email/Text: bankruptcy@wofco.com
                                                                                   Dec 01 2023 23:30:00     World Omni Financial Corp., Attn: Bankruptcy,
                                                                                                            6150 Omni Park Drive, Mobile, AL 36609-5195

TOTAL: 28


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
97174139        *             IRS Centralized Bankruptcy Department, PO Box 7346, Philadelphia, PA 19101-7346

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.
                              Case 23-19973-RAM                    Doc 9        Filed 12/03/23            Page 3 of 5
District/off: 113C-1                                             User: admin                                                            Page 3 of 3
Date Rcvd: Dec 01, 2023                                          Form ID: 309I                                                        Total Noticed: 34

Date: Dec 03, 2023                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 1, 2023 at the address(es) listed
below:
Name                            Email Address
Jose A Blanco
                                on behalf of Debtor Harold Gonzalez eservice@blancopa.com Blanco.JoseA.R105197@notify.bestcase.com

Nancy K. Neidich
                                e2c8f01@ch13miami.com ecf2@ch13miami.com

Office of the US Trustee
                                USTPRegion21.MM.ECF@usdoj.gov


TOTAL: 3
                                       Case 23-19973-RAM                            Doc 9              Filed 12/03/23                        Page 4 of 5

 Information to identify the case:

                        Harold Gonzalez                                                            Social Security number or ITIN:   xxx−xx−0549
 Debtor 1:
                                                                                                   EIN: _ _−_ _ _ _ _ _ _
                        First Name    Middle Name     Last Name

 Debtor 2:                                                                                         Social Security number or ITIN: _ _ _ _
 (Spouse, if filing)    First Name    Middle Name     Last Name                                    EIN: _ _−_ _ _ _ _ _ _

 United States Bankruptcy Court:     Southern District of Florida                                  Date case filed for chapter:               13   11/30/23

 Case number:          23−19973−RAM
Notice of Chapter 13 Bankruptcy Case

For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See boxes 8 and 12 below
for more information.)
You may want to consult an attorney to protect your rights. The bankruptcy clerk's office staff cannot give legal advice.
To help creditors correctly identify debtors, debtors must submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.
WARNING TO DEBTOR: Debtors must commence plan payments within 30 days of filing the chapter 13 petition or conversion to chapter 13.
Without further notice or hearing the court may dismiss your case for failure to timely pay filing fee installments, failure to appear at the
meeting of creditors or failure to be current with plan payments at the time of the meeting of creditors, and for failure to file a pre−bankruptcy
certification of credit counseling or file wage documentation. The case may also be dismissed or converted at the scheduled confirmation
hearing if the court denies confirmation of the pending plan under 11 U.S.C. § 1325 and denies a request made for additional time for filing
another plan or a modification of a plan.
                                                    About Debtor 1:                                                       About Debtor 2:
 1. Debtor's Full Name                              Harold Gonzalez

 2. All Other Names Used
    in the Last 8 Years
                                                    1199 W 35 St #208
 3. Address                                         Hialeah, FL 33012

    Debtor's Attorney                               Jose A Blanco                                                         Contact phone (305) 349−3463
                                                    Jose A. Blanco, P.A.
 4. (or Pro Se Debtor)                              102 E 49th ST
      Name and address                              Hialeah, FL 33013

 5. Bankruptcy Trustee                              Nancy K. Neidich                                                      Contact phone 954−443−4402
      Name and address                              www.ch13miami.com
                                                    POB 279806
                                                    Miramar, FL 33027

 6. Bankruptcy Clerk's                                                                                                    Hours open 8:30 a.m. − 4:00 p.m.
                                                    US Bankruptcy Court
    Divisional Office Where                         301 North Miami Avenue, Room 150
                                                                                                                          Contact phone (305) 714−1800
    Assigned Judge is                               Miami, FL 33128
    Chambered
      Documents filed conventionally in paper may be filed at any bankruptcy clerk's office location.                      Note: Contact the Clerk's Office at the number
      Documents may be viewed in electronic format via CM/ECF at any clerk's office public terminal                        listed above or check the court's website for
      (at no charge for viewing) or via PACER on the internet accessible at pacer.uscourts.gov                             reduced hours of operation for in−person
      (charges will apply). Case filing and unexpired deadline dates can be obtained by calling the                        filings.
      Voice Case Information System toll−free at (866) 222−8029. As mandated by the Department of
      Homeland Security, ALL visitors (except minors accompanied by an adult) to any federal building
      or courthouse, must present a current, valid, government issued photo identification (e.g. drivers'                  Clerk of Court: Joseph Falzone
      license, state identification card, passport, or immigration card.)                                                  Dated: 12/1/23

 7. **MEETING OF CREDITORS**                                                                                                         *MEETING TO BE HELD BY
     Debtors must attend the meeting to be January 4, 2024 at 12:00 PM                                                                 VIDEO CONFERENCE*
     questioned under oath. In a joint case,
     both spouses must be present with        The meeting may be continued or adjourned
     required original government−issued to a later date. If so, the date will be on the                               Go to www.Zoom.us, click on JOIN or call
     photo identification and proof of social court docket.                                                            (954) 399−2956, Enter Meeting ID 603 731
     security number (or if applicable, Tax                                                                            5972, and Passcode 4054528990
     ID). Creditors may attend, but are not
     required to do so.                                                                                                For additional meeting information
                                                                                                                       visit: www.justice.gov/ust/moc
Local Form 309I USBC SDFL (11/07/2023)                      Notice of Chapter 13 Bankruptcy Case                                                        page 1
                               Case 23-19973-RAM                            Doc 9           Filed 12/03/23                  Page 5 of 5
Debtor Harold Gonzalez                                                                                                         Case number 23−19973−RAM
8. Deadlines                             Deadline to file a complaint to challenge                               Filing deadline: 3/4/24
    The bankruptcy clerk's office        dischargeability of certain debts:
   must receive these
   documents and any required            You must file:
   filing fee by the following           • a motion if you assert that the debtors are
   deadlines. Writing a letter to           not entitled to receive a discharge under
   the court or judge is not                U.S.C. § 1328(f) or
   sufficient.                           • a complaint if you want to have a particular
                                            debt excepted from discharge under
                                            11 U.S.C. § 523(a)(2) or (4).
                                         Deadline for all creditors to file a proof of claim                     Filing deadline: 2/8/24
                                         (except governmental units):
                                         Deadline for governmental units to file a proof of                      Filing deadline: 5/28/24
                                         claim:

   When Filing Proofs of          Deadlines for Filing Proof of Claim:
   Claim: If the debtor is not     A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
   represented by an attorney,    www.flsb.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you
   you must serve copies of the might not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the
   proof of claim including all   schedules that the debtor filed. If this is a converted case proofs of claim filed under the initial chapter shall be
   attachments on the debtor, via deemed filed and need not be refiled.
                                  Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
   U.S. Mail, see Local Rule      claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
   3002−1(E). Claims may be       For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
   delivered or mailed to the     including the right to a jury trial.
   clerk's office. Creditors with
   internet access have the       Filing Deadline for a Creditor with a Foreign Address: The deadlines for filing proofs of claim in this notice
                                  apply to all creditors. If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
   option to use the electronic   asking the court to extend the deadline to file a proof of claim. See also box 10 below.
   claims filing program on the
   court website at
   www.flsb.uscourts.gov to       Deadline to Object to Exemptions:                                         Filing deadline: 30 days after the
   electronically file a proof of The law permits debtors to keep certain property as exempt. Fully                             conclusion of the
   claim.                         exempt property will not be sold and distributed to creditors.                                meeting of creditors, or
                                         Debtors must file a list of property claimed as exempt. If you                               within 30 days of any
                                         believe that the law does not authorize an exemption that the                                amendment to the list
                                         debtors claim, you may file an objection.                                                    of supplemental
                                                                                                                                      schedules, unless as
                                         The bankruptcy clerk's office must receive the objection by                                  otherwise provided
                                         the deadline to object to exemptions.                                                        under Bankruptcy Rule
                                                                                                                                      1019(2)(B) and Local
                                                                                                                                      Rule 4003−1(B) for
                                                                                                                                      converted cases.

9. Filing of Plan and Hearing           The hearing on confirmation will be held on: 2/13/24 at 01:30 PM, by VIDEO CONFERENCE. You must register
   on Confirmation                      in advance no later than 3:00 PM, one business day before the hearing. To register, click on or enter the
                                        following registration link in a browser:
                                        https://www.zoomgov.com/meeting/register/vJItdOyvrjIvGmlCDrtlqCZrs_TzvTdyAJ0
                                        If the debtor filed a Chapter 13 Plan, it is included with this notice. If no Plan is filed, the Plan will be mailed to
   Deadline to Object to                ALL parties in accordance with Local Rule 2002−1(C)(5).
   Confirmation                         At the confirmation hearing on the plan, the court will consider all timely objections to confirmation and any filed
                                        motions to dismiss or convert the case. Except for objections to confirmation based on valuation of collateral in
                                        the plan or objections to attorney fee claims, objections to confirmation of the plan must be in writing and
                                        filed no later than 14 days prior to the date first scheduled for hearing on confirmation, see Local Rule
                                        3015−3(B)(1).
   Attorney Fee Claims                  Attorney fee applications and objections to attorney fees shall be heard at the confirmation hearing.
10. Creditors with a Foreign             Consult an attorney familiar with United States bankruptcy law if you have any questions about your rights in
    Address                              this case.

11. Filing a Chapter 13                  Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    Bankruptcy Case                      according to a Plan. A Plan is not effective unless the Court confirms it. You may object to Confirmation of the
                                         Plan and appear at the Confirmation hearing. The Confimation hearing will be held on the date shown in box 9
                                         of this notice. The debtor will remain in possession of the property and may continue to operate the business, if
                                         any, unless the court orders otherwise.
12. Discharge of Debts                   Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                         However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                         are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                         as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                         523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                         If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                         must file a motion. See box 8 for deadlines. The discharge will not be issued until the Official Bankruptcy Form
                                         "Certification About a Financial Management Course" is filed by the debtor (unless the course provider filed a
                                         certificate of completion of the financial management course on behalf of the debtor).
13. Option to Receive Notices 1) EBN program open to all parties. Register at the BNC website bankruptcynotices.uscourts.gov, OR 2) DeBN
    Served by the Clerk by      program open to debtors only. Register by filing with the Clerk of Court, Local Form "Debtor's Request to
    Email Rather than U.S. Mail Receive Notices Electronically Under DeBN Program". There is no charge for either option. See also Local Rule
                                9036−1(B) and (C).
14. Translating Services                 Language interpretation of the meeting of creditors will be provided to the debtor at no cost, upon request to the
                                         trustee, through a telephone interpreter service. Persons with communications disabilities should contact the
                                         U.S. Trustee's office to arrange for translating services at the meeting of creditors.
Local Form 309I USBC SDFL                          Notice of Chapter 13 Bankruptcy Case                                                      page 2
